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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,


       - against -                                                   19 CR 286 (S-3) (AMD)


ROBERT SYLVESTER KELLY,




                     DEFENSE REQUESTS TO CHARGE




                                                                Deveraux L. Cannick, Esq.
                                                                AIELLO & CANNICK
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The following are our requests/changes to the Request to Charge:



   1. (n).       Defendant’s Right Not To Testify


       Under our Constitution, a defendant has no obligation to testify or to present any evidence,
because it is the Government’s burden to prove the defendant guilty beyond a reasonable doubt.
That burden remains with the Government throughout the entire trial and never shifts to any
defendant. A defendant never is required to prove that he is innocent. The right of the defendant
not to testify is an important part of our Constitution.


                 As the Supreme Court has said, and I am quoting:


                 It is not everyone who can safely venture on the witness stand, though entirely
                 innocent of the charge against him. Excessive timidity, nervousness when facing
                 other and attempting to explain transactions of suspicious character, and offenses
                 charged against him, will often confuse and embarrass to such a degree as to
                 increase rather than remove prejudices against him. It is not everyone, however
                 honest, who would therefore willingly be placed on the witness stand.


       It is for this reason that you may not attach any significance to the fact that the defendant
did not testify. No adverse inference may be drawn against the defendant because he did not take
the witness stand.     You may not consider this against the defendant in any way in your
deliberations.


                 Adapted from Carter v. Kentucky, 450 U.S. 288, 300 n. 15 (1981).
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       27.     Request Number 27 on page 74.

               This should be included:


       The law shall "apply where someone “knowingly exposed [another] person to a venereal

infection.” Legislative Memorandum, 1946 New York State Legislative Annual, p. 191. Thus, to

the extent that this section of law is enforceable, NYSDOH interprets it as inapplicable to

individuals who have sexual intercourse where they either (1) do not know they are infected, or

(2) do know they are infected and reveal that information to their consenting partners. Further, the

Department interprets the law as only applying to individuals who knowingly expose another

individual to an acute, bacterial venereal disease such as syphilis or gonorrhea. No changes have

been made to the regulations in response to these comments.




Dated: Maspeth, New York
       July 2, 2021
                                                     Respectfully submitted,


                                                     /s/________________________
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